Case 4:15-cv-04136-KES Document 40 Filed 04/06/18 Page 1 of 17 PageID #: 444



                           UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH DAKOTA
                                SOUTHERN DIVISION

SIOUX STEEL COMPANY, a South            )                     CIV. 15-4136
Dakota corporation,                     )
                                        )
       Plaintiff,                       )
                                        )   PLAINTIFF’S RESPONSE IN OPPOSITION
vs.                                     )      TO DEFENDANT’S MOTION FOR
                                        )          SUMMARY JUDGMENT
KC ENGINEERING, P.C., an Iowa           )
corporation,                            )
                                        )
       Defendant.                       )

       COMES NOW the Plaintiff, Sioux Steel Company (“SSC”), by and through their counsel

of record, Goodsell Quinn, LLP, and submits this Response in Opposition to Defendant’s Motion

for Summary Judgment (the “Response”). Defendant’s Motion for Summary Judgment (the

“Motion”) was brought pursuant to Rule 56 of the Federal Rules of Civil Procedure, and

premised on Defendant’s assertion that SSC’s claims should be barred pursuant to SDCL 20-9-2.

In support of SSC’s Response, SSC relies on SSC’s Response in Opposition to Defendant’s

Statement of Undisputed Material Facts, which is incorporated herein.

                                        INTRODUCTION

       Defendant has moved for Summary Judgment on the exclusive basis that SSC was

contributorily negligent as a matter of law. Defendant alleges that SSC was negligent in the

following ways: (1) SSC negligently designed the Hopper/Silo submitted to Defendant for

professional engineering review, (2) SSC did not have appropriate internal measures to “catch”

the mathematical error submitted to Defendant for professional engineering review, and (3) SSC

did not “catch” Defendant’s error when Defendant approved the design submitted to Defendant

for professional engineering review. (Doc. 32, at 11.) Each of these allegations of negligence



                                               1
Case 4:15-cv-04136-KES Document 40 Filed 04/06/18 Page 2 of 17 PageID #: 445



completely ignores Defendant’s duty and the fundamental purpose of Defendant’s design review

-- to find and correct errors in the design plan through competent engineering practices.

Affidavit of G. Verne Goodsell (“Goodsell Aff.”), Exhibit (“Ex.”) K, Deposition of Jason

O’Mara (“O’Mara Depo.”), 9:19-25;10:1-5.              Had Defendant conducted a competent and

professional engineering review, the failure would have been averted, and the instant case would

not have been filed.

       Rule 56 of the Federal Rules of Civil Procedure provides that summary judgment “shall

be rendered forthwith if the pleadings, depositions, answers to interrogatories, and admissions on

file, together with the affidavits, if any, show that there is no genuine issue as to any material fact

and that the moving party is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56.

However, as the non-moving party, the Court is compelled to view all disputed facts in the light

most favorable to SSC. Ghane v. West, 148 F.3d 979, 981 (8th Cir. 1998). If a reasonable jury

could return a verdict for the nonmoving party, the motion for summary judgment should be

denied. Mehrkens v. Blank, 556 F.3d 865, 868-69 (8th Cir. 2009) (citations omitted). For the

reasons set forth below, genuine issues of material fact remain for the fact finder to resolve,

which could, and likely will, lead a reasonable jury to find in SSC’s favor. Therefore, summary

judgment is inappropriate, and Defendant’s Motion should be denied.

                                      FACTUAL BACKGROUND

       This case arises out of Defendant’s botched structural engineering design review, which

caused the collapse of an agricultural silo in Tepic, Mexico, cost two workers their lives, and

cost Plaintiff over a million dollars in financial loss. As a direct and proximate cause of

Defendant’s negligent structural engineering design review, Plaintiff suffered substantial

damages.



                                                  2
 Case 4:15-cv-04136-KES Document 40 Filed 04/06/18 Page 3 of 17 PageID #: 446



        SSC is in the business of manufacturing and selling hopper silos for handling and storing

commodities. (Doc. 17, at ¶6). In about 2012, SSC designed a new thirty-foot (“30’”) Diameter

Hopper Cone Assembly and silo bin for storing bulk density agricultural commodities. Goodsell

Aff., Ex. A, Expert Report of John W. Carson, Ph.D., November 21, 2016 (“Carson Report”), 4.

Prior to manufacturing and selling the Hopper Cone Assembly and silo bin, Plaintiff took the

prudent and responsible step to have its new design vetted by an outside professional engineering

firm to determine whether the design would withstand the loads imposed while in use. Goodsell

Aff., Ex. B, Retention Letter, July 30, 2012.

        In July of 2012, SSC retained Defendant to perform a structural engineering analysis and

design review of two hopper cones that are proposed for use with SSC’s 18’ diameter and 30’

diameter grain bins. Goodsell Aff., Ex. B, Retention Letter, July 30, 2012. After completing the

project, Defendant delivered its report to Plaintiff and initially advised Plaintiff that the design of

the 30’ diameter hopper was not sufficient as designed. Goodsell Aff., Ex. C, KC Report,

August 28, 2012. The report states that “hand calculations” were completed. Id., at 2. Nowhere

in the 26-page report does the phrase “spot check” appear. Id.

        On October 2, 2012, Defendant acknowledged that its initial position with respect to the

30’ Hopper was wrong and revised its report. Goodsell Aff., Ex. D, KC Letter, October 2, 2012.

Defendant instead concluded that the design of the 30’ diameter hopper was adequate and safe for

handling the load capacity for commodity storage and delivery. Id. Defendant’s initial error

regarding the 30’ Hopper design is not material to the facts giving rise to this case. Relying on

Defendant, Plaintiff finalized plans for the assembly and manufacturing of the hopper silo, and

ultimately, marketed and sold the hopper silo to its customers.          See Goodsell Aff., Ex. E,

Deposition of Chad Kramer (“Kramer Depo.”), 40:11-16.



                                                  3
Case 4:15-cv-04136-KES Document 40 Filed 04/06/18 Page 4 of 17 PageID #: 447



       Defendant knew that Plaintiff retained the Defendant specifically to review the design for

load capacity of commodities and the safe storage and handling of commodities. Goodsell Aff.,

Ex. F, Deposition of Derek Matthies (“Matthies Depo.”), 62:8-18; see also, Amended Complaint

¶11. In fact, Defendant had specifically agreed to review the drawings and calculations of the

new design. Goodsell Aff., Ex. B, Retention Letter, July 30, 2012. Defendant alleges that

because it did not receive the SSC’s calculations, it only performed “spot checks” of SSC’s

calculations. Goodsell Aff., Ex. K, O’Mara Depo. 48:5-10. Defendant never advised SSC that it

was limiting its calculation review to “spot checks.” Id. at 49:4-20. Once again, nowhere in its

report does it indicate that Defendant was only performing “spot checks” in this design review.

Goodsell Aff., Ex. C, KC Report, August 28, 2012, 1-26. In fact, Defendant’s report indicates

that hand calculations were completed without any qualification whatsoever. Id., at 2.

       In November of 2014, Molinos Azteca (“Molinos”), an authorized distributor for SSC,

sold a 30’ Hopper/Silo to Agropecuaria El Avion (“Agropecuaria”) for the handling, storage, and

delivery of soybean meal. (Doc. 17, at ¶12). Molinos installed the hopper cone and silo at the

Agropecuaria plant in Tepic, Mexico. Id.

       On or about February 2, 2015, the Agropecuaria Hopper/Silo, approved by Defendant,

suffered a catastrophic failure. Two employees of Agropecuaria were discharging the contents of

the Hopper/Silo for delivery to Agropecuaria customers when it suddenly and without warning

failed, discharging 681,820.00 Kg (approximately 750 tons) of soybean meal and metal debris

onto the workers.    See Goodsell Aff., Ex. A, Carson Report, 3.         The two Agropecuaria

employees suffered fatal injuries. Id. As a result of the failure, Agropecuaria sought direct

damages from SSC for the loss of equipment and soybean meal, and for contribution and

indemnity under Mexican law for the death of its two employees. (Doc. 17, at ¶ 26).



                                                4
Case 4:15-cv-04136-KES Document 40 Filed 04/06/18 Page 5 of 17 PageID #: 448



       Shortly after the accident, an investigation was undertaken to determine the cause of the

failure. See generally, Goodsell Aff., Ex. G, ESI Report, May 11, 2015; Ex. H, Nohr Report,

March 3, 2015. The structural failure and discharge of soybean meal occurred when the bolted

vertical seams in the hopper separated from the silo and discharged the contents of the silo. Id.

The investigation revealed a design defect in the bolt spacing and depth in the vertical metal

seam at the top of the hopper. Id. This error existed at the time the structural design was

submitted to Defendant for review.

       Had Defendant conducted a reasonable analysis of all of SSC’s calculations, as agreed to

in its retention letter and represented as completed in its August 28, 2012 Report, it would have

discovered the under-designed seam. Goodsell Aff., Ex. K, O’Mara Depo., 26:10-17. It is

undisputed that the seam design failed to meet industry loading standards for steel bins as set

forth in the American Standard, EP 433, and Australian Standard “Loads on Bulk Solid

Containers.” Goodsell Aff., Ex. J, Deposition of John W. Carson (“Carson Depo.”), 24:1-3.

                                           DISCUSSION

       For this Motion, it is critical to understand the event that gave rise to this case. This case

was the result of a botched design review by Defendant -- not the ultimate failure of the

Hopper/Silo in Mexico. SSC’s damages for the Agropecuaria failure are only a part of the

damages suffered by SSC as a result of Defendant’s negligence. In addition to the Agropecuaria

settlement, SSC also suffered a loss of business reputation, the cost of retrofitting other

Hopper/Silo combinations, and loss of income. See Doc. 1, ¶¶ 25, 30-31. The Complaint states

a cognizable negligence claim against Defendant, and in fact, Defendant does not contest that

fact in this Motion.




                                                 5
Case 4:15-cv-04136-KES Document 40 Filed 04/06/18 Page 6 of 17 PageID #: 449



        The rule for professional negligence in South Dakota is similar to all negligence actions.

See e.g. Lien v. McGladrey & Pullen, 509 N.W.2d 421 (S.D.1993).

        To recover on a claim for negligence under South Dakota law, a plaintiff must
        prove the following: (1) there was a duty of care owed by the defendant to the
        plaintiff, (2) the defendant breached that duty, (3) factual causation, or the
        plaintiff would not have suffered harm “but for” the defendant's breach, (4)
        proximate causation, or the harm suffered by the plaintiff was a foreseeable
        consequence of the defendant's breach, and (5) the plaintiff suffered damages as a
        result of the breach.

Lien, 509 N.W.2d at 423. In this case, Defendant owed a duty to conduct a competent and

professional structural engineering design review of the Hopper/Silo, consistent with industry

standard. See South Dakota Bd. of Regents on behalf of Black Hills State University v. Global

Synthetics Environmental, LLC, 270 F.Supp. 1088, 1112 (D.S.D. 2017) (citing Mid-Western

Elec. Inc. v. DeWild Grant Reckert and Associates Co., 500 N.W.2d 250, 254 (S.D. 1993)).

Defendant’s failure to identify the under-designed vertical seam constituted a breach of its duty.

As a factual and proximate result of Defendant’s breach, the under-designed vertical seam

caused SSC actual financial damages, as well as damages likely to result in the future. (Doc. 1,

at ¶ 25).

        Defendant does not dispute by this Motion that it owed a duty to SSC.             Further,

Defendant does not dispute that it failed to review the calculations for the under-designed

vertical seam. The July 30, 2012, retention letter specifically states that Defendant would review

calculations in conducting its design review. Goodsell Aff., Ex. B, Retention Letter, July 30,

2012. Defendant’s August 28, 2012 Report states that it completed hand calculations as part of

its structural design review. Goodsell Aff., Ex. C, KC Report, 2. In the course of this litigation,

Defendant has characterized its calculation reviews as “spot checks.” Nowhere in its 26-page

report is the phrase “spot check” ever used. Id. SSC contends that Defendant’s “spot checks”



                                                6
Case 4:15-cv-04136-KES Document 40 Filed 04/06/18 Page 7 of 17 PageID #: 450



are in fact cover for its failure to find and correct the under-designed seam which was the direct

and proximate cause of SSC’s damages. Given the foregoing, it is clear that SSC has stated a

clear and cognizable claim for professional negligence against Defendant.

   1. Summary Judgment is Inappropriate in Negligence/Contributory Negligence Cases.

       Instead of arguing that SSC failed to present any evidence of Defendant’s negligence,

Defendant argues that SSC’s own negligence bars its claims as a matter of law. South Dakota’s

rule for contributory negligence is set forth in SDCL 20-9-2, which provides in pertinent part:

       In all actions brought to recover damages for injuries to a person or to that
       person's property caused by the negligence of another, the fact that the plaintiff
       may have been guilty of contributory negligence does not bar a recovery when the
       contributory negligence of the plaintiff was slight in comparison with the
       negligence of the defendant, but in such case, the damages shall be reduced in
       proportion to the amount of plaintiff's contributory negligence…

SDCL 20-9-2. Ordinarily, questions of negligence and proximate cause are for the jury in “all

but the rarest of cases.” Lindholm at 1098, (quoting Fritz v. Howard Twp., 570 N.W.2d 240, 244

(S.D. 1997)). Summary judgment is an improper way to resolve matters of negligence and

contributory negligence because such matters fundamentally depend upon what the “reasonable

person” would do. See Wilson v. Great Northern Ry Co., 157 N.W.2d 19, 22 (S.D. 1968)

(admonishing “that issues of negligence, contributory negligence, and the comparative extent

thereof, and proximate cause are ordinarily questions of fact and it must be a clear case before a

trial judge is justified in taking these issues from the jury.”); Theunissen v. Brisky, 438 N.W.2d

221, 223 (S.D. 1989) (questioning, “what advantage is summary judgment to either the court or

the parties . . . [i]t would appear that the trial court might well wait until the evidence is in and

appropriate motion made for directed verdict.”). In other words, unless there is a total void of

evidence on a party’s behalf, questions of contributory negligence should be left to the jury’s

ultimate resolution.


                                                 7
Case 4:15-cv-04136-KES Document 40 Filed 04/06/18 Page 8 of 17 PageID #: 451



       Here, there is an abundance of evidence weighing in SSC’s favor. SSC has retained

engineer Mark Duckett to testify on matters of both causation and standard of care. Goodsell

Aff., Ex. J, Expert Report of Mark Duckett (“Duckett Report”), October 5, 2016, 5-6. Mr.

Duckett opines that the incident in Tepic was caused by bolt connections on the vertical seams of

the Hopper (likely initiating from the top of the Hopper) which contained inadequate edge

distances. Id. Mr. Duckett further opines that Defendant’s failure to address the under-designed

seam spacing constituted a breach of the minimum standard of care for engineers performing an

engineering analysis for a steel structure. Id. at 6.

       Mr. Duckett concludes that had Defendant conducted a competent design review, the

under-designed seam would have been addressed. Id. In other words, “but for” Defendant’s

negligence, the new Hopper/Silo with the under-designed seam does not go into production, and

the failure in Mexico and resulting tragic consequences do not occur. Defendant, not SSC, was

in the best position to avoid this failure because it was specifically retained to do so. At a

minimum, there is sufficient evidence for the jury reach this conclusion and its verdict should not

be taken with such obvious disputes of fact still outstanding.

       It is important to keep in mind that the entire purpose of hiring outside engineering

services was to ensure that SSC’s new product line was safe for its customers. This was a

prudent and laudable step for SSC to take. It was an additional safety measure taken by SSC to

ensure the quality and safety of its product. SSC had no reason to think its design was unsafe

specifically because a professional engineering company had told them that it was. See Goodsell

Aff., Ex. C, KC Report. When viewed in its totality, there is sufficient evidence for the jury to

weigh and balance Defendant’s negligence against any alleged negligence by SSC. When




                                                   8
Case 4:15-cv-04136-KES Document 40 Filed 04/06/18 Page 9 of 17 PageID #: 452



viewed in the light most favorable to SSC, clear fact issues remain. Because of this, summary

judgment is inappropriate, and Defendant’s Motion should be denied.

   2. SSC’s Alleged Negligence (If Any) Is Slight

          Assuming arguendo, that SSC’s alleged negligence contributed in any way to the failure

in Tepic and resulting damages from the under-designed seam, it remains to be determined

whether SSC’s negligence was “greater than slight.” The question of a plaintiff’s contributory

negligence is a two-step inquiry. Nugent v. Quam, 152 N.W.2d 371, 374 (1967). “The first step

of the Nugent analysis is a determination of whether the plaintiff and the defendant were

negligent. If either is found to be not negligent, “there can be no application of the comparative

negligence law.”     Nugent,152 N.W.2d at 377.        As always, the standard of conduct is the

reasonable and prudent person. Id.

          If both are found to be negligent, the second step of the process requires that the

negligence of the plaintiff must be compared to the negligence of the defendant. Westover v. E.

River Elec. Power Coop., Inc., 488 N.W.2d 896, 897 (S.D. 1992). In making such a

determination there is a direct comparison between the conduct of the plaintiff and the defendant

rather than to the standard of the reasonable person. Id. (citations omitted).

            Three factors may properly be considered in appraising the quality of a
            plaintiff’s negligence: the precautions he took for his own safety; the extent to
            which he should have comprehended the risk as a result of warnings,
            experience, or other factors, and the foreseeability of injury as a consequence
            of his conduct. These factors of course may overlap in a given case, for a
            plaintiff may increase the foreseeability of injury by failing to take safety
            precautions and greater precautions may be expected if he is aware of danger.

Id. at 898 (citing Associated Engineers v. Job, 370 F.2d 633, 641 (8th Cir 1966) (emphasis

added).     “It is only when the facts show beyond any dispute that plaintiff has committed

negligence more than ‘slight,’ that it is appropriate for the circuit court and this court to hold, as



                                                  9
Case 4:15-cv-04136-KES Document 40 Filed 04/06/18 Page 10 of 17 PageID #: 453



a matter of law, for a negligent defendant.” Id. (emphasis added). The balance of these factors

weighs in SSC’s favor.

       In this case, SSC took the extraordinary precaution of hiring Defendant to review the

design. Because of this, there remains considerable doubt that SSC was negligent at all.

Moreover, Defendant never warned SSC that its design review was deficient. There was no way

for SSC to appreciate the harm created by Defendant’s negligence. At a minimum, there is

sufficient evidence for the jury to find the Defendant liable for its structural design review of

SSC’s product.

       Despite this, Defendant has alleged SSC was negligent in the following ways:

       (1) SSC negligently designed the Hopper/Silo submitted to Defendant for
       professional engineering review, (2) SSC did not have appropriate internal
       measures to “catch” the mathematical error submitted to Defendant for
       professional engineering review, and (3) SSC did not “catch” Defendant’s error
       when Defendant approved the design submitted to Defendant for professional
       engineering review.

(Doc. 33, at 11). Facially, Defendant’s arguments are circuitous -- the Defendant accepted the

duty to catch SSC’s errors, but blames SSC for not catching Defendant’s errors. If Defendant’s

argument were accepted, then that would mean Defendant would never be liable for negligent

work it performs for others, because the client should have known that Defendant’s work could

be negligent. This argument is nonsensical. Moreover, it violates public policy because it

discourages designers, such as SSC, from having their products reviewed by outside parties. In

addition, Defendant’s argument, encourages reviewers, such as the Defendant, to “rubber stamp”

projects or do sloppy work, because they face no liability. Public policy should abhor this

suggestion because it puts the public’s safety at risk. Moreover, accepting Defendant’s argument

emboldens it to take other clients’ money, “rubber stamp” the work, and then blame the client

when something fails – without any liability. In other words, accepting Defendant’s argument


                                               10
Case 4:15-cv-04136-KES Document 40 Filed 04/06/18 Page 11 of 17 PageID #: 454



encourages parties performing these types of services to be negligent in the performance of their

duties.

          Defendant’s first allegation of negligence -- that SSC submitted to Defendant for

professional review a negligently designed Hopper/Silo -- is paradoxical. Defendant accepted

SSC’s $5,500 with the knowledge that there could be a design error in the drawings and

calculations SSC submitted. Logically, every engineering design review inherently involves the

possibility of an error in the design. The fundamental purpose of hiring an outside firm to

conduct a design review is to find and correct potential errors. Goodsell Aff., Ex. K, O’Mara

Depo., 9:22-25, 10:1-5. Defendant was hired to find defects. It failed to do so. This was

Defendant’s error, not SSC’s.

          Furthermore, Defendant ignores that if it had done the job it was paid to do the under-

designed seam would have been caught and corrected. Defendant was supposed to be the

prophylactic measure taken by SSC to ensure the quality and safety of its customers. Had

Defendant done a competent structural design review, SSC’s error would have never been a

problem. At a minimum, the balance of SSC’s negligence, if any, should be left to the jury’s

determination.

          Defendant’s second allegation of negligence is equally, if not more, confounding than its

first. Defendant contends that SSC was negligent because it did not have appropriate internal

measures to “catch” the mathematical error submitted to Defendant for professional engineering

review. (Doc. 33, at 11). Setting aside that Defendant has failed to identify what sort of duty

SSC has in this regard, Defendant completely ignores that Defendant’s design review was

supposed to be the additional measure to “catch” SSC’s mathematical error.




                                                 11
Case 4:15-cv-04136-KES Document 40 Filed 04/06/18 Page 12 of 17 PageID #: 455



        Defendant’s argument seeks to negate the benefits and desirability of “external” review.

The entire purpose of Defendant’s design review was to put a fresh pair of eyes on the project.

Defendant’s design review was intended to avoid biases, such as affinity bias or confirmation

bias, by having neutral engineers vet the project. Any duty SSC had to have “internal measures”

to “catch” its mathematical error was satisfied by its retention of Defendant’s professional

services. Defendant was supposed to be the additional safety measure that SSC cannot provide

for itself. For Defendant to argue that SSC’s claim should be barred because it lacked additional

“internal measures” is simply unfair. Summary Judgment should be denied on this basis.

        Defendant’s final allegation is that SSC was more than slightly negligent as a matter of

law for not “rechecking” Defendant’s report. This argument is misguided for three reasons.

        First, SSC owed no duty to double check Defendant’s work. Defendant was hired to

check SSC’s work, not the other way around. As Mr. Duckett explains, design reviews are not a

two-way street. Goodsell Aff., Ex. L, Deposition of Mark Duckett, 60:1-17. One who hires

another to review his or her work does not then owe a duty to make sure that the “checker” has

done what he or she says has been done. Id. Such a duty would turn the whole relationship on its

head.

        Second, Mr. Kramer obviously thought he had designed a safe and effective Hopper/Silo.

Defendant was not hired as a “test” for the Defendant, to see if it could catch SSC’s error.

Instead, Defendant was hired to actually catch any error, which SSC had overlooked. Defendant

failed in that essential purpose and tragedy ensued. Defendant’s argument seems to suggest that

SSC should have hired a second reviewer to review the Defendant’s external review. If that were

required, the chain of review and re-review would never end. No such obligation on SSC exists.

“The buck stops” with Defendant’s duty. That was its job.



                                               12
Case 4:15-cv-04136-KES Document 40 Filed 04/06/18 Page 13 of 17 PageID #: 456



       Third, contrary to Defendant’s representation, Kramer did review the report. In fact,

upon receipt of the first report, which indicated that it believed the 30’ Hopper/Silo was under

designed, Kramer disputed Defendant’s findings. Upon realizing its own error, Defendant agreed

with Kramer’s analysis and modified its position. Goodsell Aff., Ex. K, O’Mara Depo., 54:4-12.

Although Kramer did not review the details of Defendant’s report, he did review the conclusions.

Goodsell Aff., Ex. E, Kramer Depo. 46:16-19; 48:7-12. Because Defendant reached the same

conclusions as Kramer, he did not “re-review” the Defendant’s work. Ultimately, it is for the

jury to say whether relying on a professional engineering company to act as a professional

engineering company is reasonable in comparison with Defendant’s negligence. SSC contends

that it is. Defendant contends that it was not.

       Defendant relies on Starnes v. Stofferahn to support its position in this Motion. (Doc. 32,

at 10). That case involved a farmer, Starnes, who was injured by a self-unloading wagon leased

from Stofferahn. Id. The wagon had a protruding axle at the universal joint at the end of the

drive shaft. Starnes admitted that he was aware of the protruding axle, and appreciated the

danger it presented. Id. at 428. While assisting with unloading the wagon, Starnes’ clothes

became entangled with the axle and he suffered serious injuries. Id. Because he knew of the

dangerous screw and still failed to take necessary precautions to protect his own safety, he was

found to be contributorily negligent, more than slight. Id.

       By contrast, here, SSC took prudent and thoughtful precautions for the dangers presented

by its work. SSC had the product designed by its in-house engineers, and hired Defendant as an

additional safety measure to verify the product was safe. When KC approved the design plan

submitted, SSC had no reason to suspect any danger presented by its new design. In reliance on

Defendant’s report, SSC began production of the new design without any knowledge of any



                                                  13
Case 4:15-cv-04136-KES Document 40 Filed 04/06/18 Page 14 of 17 PageID #: 457



danger presented by the Hopper/Silo. Unlike the plaintiff in Starnes, judgment as a matter of law

is improper because of the absence of an open and obvious peril.

         Defendant also relies on Lovell v. Oahe Elec. Co-op, as support for its argument that

SSC’s obvious negligence precludes its recovery in this case as a matter of law. Lovell dealt with

multiple negligent actions taken, in concert, to create an obvious peril. Lovell v. Oahe Elec. Co-

op, 382 N.W.2d 396, 397 (S.D.1986). Lovell is inapposite to this case.

         There, Defendant Oahe constructed high-voltage lines across Lovell’s farm near an

existing well. Id. The Lovells were attempting to pull a pipe from the well when it contacted the

line. Id. They were holding the pipe when it struck the line and caused them to suffer severe

burns. Id. The Court addressed the three factors set out in Associated Engineers, Inc. v. Job,

supra.

         First, the Lovells did not take any precautions for their own safety. Id. at 398. Second,

they fully understood the dangers involved in there activity and disregarded the warnings of

Oahe. Id. Finally, the foreseeability of injury from their conduct was quite clear because the

court reasoned that any reasonable person should be aware of the open and obvious dangers of

live electrical wires. Id. The court found the Lovells did not take a single measure to protect

themselves from a dangerous situation. Id. at 399. Because of the totality of the Lovells’

negligence, the South Dakota Supreme Court agreed that the Lovells’ claims were barred as a

matter of law. Id.

         Lovell is a wholly different case that the one at hand. Here, SSC made a mathematical

error in its initial calculations, unknowingly. Then, it took the extra precaution of retaining an

outside firm to find and correct any mistakes in the project. When that outside firm ultimately

did not find any issue in SSC’s design, it relied on that paid engineering expertise of Defendant



                                                14
Case 4:15-cv-04136-KES Document 40 Filed 04/06/18 Page 15 of 17 PageID #: 458



to begin production on the new design. It remains to be determined whether Defendant exercised

due care under the circumstances. Theunissen at 224. This is a question of fact for the jury.

       Defendant also relies on Lindholm v. BMW of N. Am., LLC, 2016 WL 4399306, at *11

(D.S.D. Aug. 17, 2016). Once again, Defendant ignores the fundamental difference between its

authority and the instant case. Lindholm, like Starnes and Lovell, involved an open and obvious

danger that was not present in this case. Id. In Lindholm, the plaintiff was using a carjack for a

purpose that had been expressly prohibited in the jack manufacturer’s warning. Here, no such

warning was given. Defendant never once advised SSC that it was doing “spot checks” instead

of the full calculations review as set out in the retention letter. Further, the August 28, 2012

report indicated that the hand calculations had been completed. Goodsell Aff., Ex. C, KC

Report, pg. 2. Defendant never warned SSC, either expressly or implicitly, that it would not be

checking the bolt spacing calculations on the vertical seam of the Hopper. As such, the analysis

in Lindholm is not helpful to the Court’s comparative negligence analysis here.

       The comparative negligence analysis in this case is closer to, although still dissimilar

from, Theunissen v. Brisky. 438 N.W.2d 221, 223 (S.D. 1989). Theunissen was a wrongful death

case, arising from a collision. Id. The plaintiff attempted to make a left-hand turn when he was

struck by a semi-truck. Id. The accident occurred during low visibility, on snow covered roads.

Id. The court found that because of the limited visibility, and therefore, the plaintiff’s diminished

ability to see and appreciate the danger of the oncoming semi-truck, the issue of whether the

plaintiff’s actions were negligent was a matter for a jury to determine. Id. at 224.

       Similarly, in this case, SSC’s perception of harm, if any, was obfuscated by Defendant’s

negligent design review. SSC was handicapped in its ability to appreciate the danger because of

its reliance on Defendant. It is for the jury to determine whether SSC should have known and



                                                 15
Case 4:15-cv-04136-KES Document 40 Filed 04/06/18 Page 16 of 17 PageID #: 459



appreciated the fact that Defendant had not competently performed the calculations, which

caused the Hopper to have an overstressed vertical seam.

       It also remains a question for the jury to determine whether it was reasonable for SSC to

rely on Defendant to perform the competent engineering services it had been paid to perform. It

remains for the jury to determine whether it was reasonable for SSC to not “re-check” the math

of the engineering company it paid to check its own math. And it remains for the jury to

determine whether Defendant’s negligent design review was the cause of SSC’s damages. Given

these outstanding factual questions, and the forgoing analysis (and admonishments) from the

South Dakota Supreme Court on SDCL 20-9-2, summary judgment is wholly inappropriate in

this case, and Defendant’s Motion should be denied.

                                            CONCLUSION

       Because, when viewed in the light most favorable to SSC, genuine issues of material fact

remain to be determined by the jury, Plaintiff respectfully requests the Court deny Defendant’s

Motion for Summary Judgment.

       Dated this 6th day of April, 2018.

                                              GOODSELL QUINN, LLP


                                              BY: /s/ G. Verne Goodsell
                                                      G. Verne Goodsell
                                                      Nathan R. Oviatt
                                                      246 Founders Park Dr., Suite 201
                                                      P.O. Box 9249
                                                      Rapid City, SD 57709-9249
                                                      Tel: (605) 343-3000
                                                      Attorneys for Plaintiff




                                                16
Case 4:15-cv-04136-KES Document 40 Filed 04/06/18 Page 17 of 17 PageID #: 460



                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that he served a true and correct copy of the foregoing
Plaintiff’s Response in Opposition to Defendant’s Motion for Summary Judgment upon the
person identified below by US Mail, E-Mail and Odyssey File and Serve System:

               Michael F. Tobin
               Mitchell W. O’Hara
               Boyce Law Firm, LLP
               300 S. Main Ave., P.O. Box 5015
               Sioux Falls, SD 57117-5015
               mftobin@boycelaw.com
               mwohara@boycelaw.com
               Attorneys for Defendant


       Dated this 6th day of April, 2018.


                                             /s/ G. Verne Goodsell
                                             G. Verne Goodsell




                                                17
